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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

  Civil Action No. 21-cv-02244-REB-MEH

  TIMOTHY ROECKEL,

          Plaintiff,

  v.

  NORTHSTAR LOCATION SERVICES, LLC,

          Defendant.


              ORDER APPROVING NOTICE OF VOLUNTARY OF DISMISSAL

  Blackburn, J.

          This matter is before the court on the Notice of Voluntary Dismissal [#8]1 filed

  September 8, 2021. Fed. R. Civ. P. 41(a)(1)(A)(i) permits a plaintiff to dismiss their

  complaint without a court order by filing a notice of dismissal before the opposing party

  serves either an answer or a motion for summary judgment. The plaintiff filed his notice

  [#8] before any defendant served either an answer or motion for summary judgment.

  Procedurally, voluntary dismissal by the plaintiff is proper.

          THEREFORE, IT IS ORDERED as follows:

          1. That the Notice of Voluntary Dismissal [#8] is approved;

          2. That under Fed. R. Civ. P. 41(a)(1)(A)(i), this case is dismissed;




          1
              “[#8]” is an example of the convention I use to identify the docket number assigned to a
  specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
  convention throughout this order.
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       3. That all deadlines and hearings are vacated; and

       4. That each party shall bear their own attorney fees and costs.

       Dated September 15, 2021, at Denver, Colorado.

                                               BY THE COURT:




                                           2
